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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

 

SUPERSEDING INDICTMENT FOR CONSPIRACY TO COMMIT MAIL AND WIRE
FRAUD, “'lRE FRAUD, MAIL FRAUD, CONSPIRACY TO COMMIT MONEY
LAUNDERING, MONEY LAUNDERING, OBSTRUCTION OF JUSTICE,

AND NOTICE OF FORFEITURE

UNITED STATES OF AMERICA * CRIMINAL NO.: 17-241
v. * SECTION: “A”
IRVIN MAYFIELD * VIOLATIONS: 18 U.S.C. § 371
RONALD MARKHAM 18 U.S.C. § 1341
* 18 U.S.C. § 1343
18 U.S.C. § 1519
* 18 U.S.C. § 1956(h)
18 U.S.C. § 1957
* 18 U.S.C. § 2
* il *
The Grand Jury charges that:
COUNT 1
(Conspiracy)

A. AT ALL TIMES MATERIAL HEREIN:
The New Orleans Jazz Orchestra
I. Defendant, IRVIN MAYFIELD (MAYFIELD), founded the New Orlcans Jaz,z

Orchestra (NOJO) in 2002. MAYFIELD also acted as Artistic Director and featured performer.

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2. Defendant, RONALD MARKHAM (MARKHAM), was a long-time friend of
MAYFlELD and served as NOJO’s President and Chief Executive Officer.

3. NOJ 0 was composed of approximately 18 musicians who routinely performed
and toured. NOJ 0 also employed administrative stafi`, including personal assistants for
MAYFIELD. In addition to performance fees, travel expenses, and personal assistants,
MAYFlELD received a salary from NOJ 0 of approximately 3100,000 per year. MAYFIELD
also received income and other benefits through his companies Mayiield Production Company,
Inc. (Mayi"ield Production) and Mayiield Publishing Co., as well as through his affiliation with
Irvin Mayiield’s Jazz Playhouse, a nightclub located in the French Quarter.

4. For his position as President and Chief Executive Officer of NOJO, MARKHAM
received a salary of approximately $100,000 per year. MARKHAM also received a separate
salary through Mayiieid Production Company, Inc. and Mayiield Publishing Co.

5. Throughout its existence, NOJO relied heavily on donations to iimd its operations
and pay its expenses Between on or about Deeember 16, 2008, until on or about May 31, 2010,
NOJ 0 relied heavily on grants from the Edward Wisner Donation, a charitable trust administered
by the City of New Orleans.

6. In or about February 201 l, support for NOJ 0 through the Edward Wisner
Donation was terminated by the City of New Orleans, causing great financial distress to NOJ 0
and its ability to pay expenses. MAYFIELD and MARKHAM then began a search for new
sources of iimding.

The New Orleans Public Lihrary Foundation
7. In or about Octobcr 1990, the New Orleans Publie Library Foundation (NOPLF)

was established to receive donations generated through private fundraising efforts‘, to oversee the

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prudent investment of said donations at an acceptable level of risk; and to authorize expenditures
judiciously for the purpose of purchasing books, other informational materials, and sponsoring
New Orleans Public I..ibrary (NOPL) related programs For these purposes, NOPLF maintained
an investment account

8. Until approximately August 201 1, the NOPLF used interest earned from its
investment account to fund its mission at the direction of its board of directors All board
members were uncompensated volunteers.

9. In or about August 2006, MAYFIELD became a board member of NOPLF. He
later became Chairman of the board in or about November 2010. During his time on the NOPLF
board, MAYFIELD also maintained his position with NOJO.

10. In or about December 2009, MARKHAM became a board member ofNOPLF.
I-Ie later became Chairman of the board in or about September 2013 upon MAYFIELD’$
resignation as Chairman of NOPLF. During his time on the NOPLF board, MARKHAM also
maintained his position with NOJO.

11. When Mayiield became Chairman of the NOPLF board of directors, the NOPLF
investment account contained approximately $3,892,215. Between August 23, 2011, and
November 30, 2013, MAYFIELD and MARKHAM caused approximately $1,316,232 to be
transferred and paid directly from NOPLF to NOJO and elsewhere to unlawfully benefit
themselves

The Youth Rescue Initiative
12. The Youth Rescue Initiative (YRI) was a New Orleans non-profit dedicated to

creating opportunities for disenfranchised youth in the City of New Orleans.

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13. Between at least Jantlary 2012 and November 2012, MAYFIELD was a board
member of YRI.

B. THE CONSPIRACY:

14. Beginn.ing in or about August 2011, and continuing until in or about November
2013, in the Eastern District of Louisiana and elsewhere, the defendants, IRVIN MAYFIELD
and RONALD MARKHAM, and others known and unknown to the Grand Jury, did knowingly
and willfully combine, conspire, confederate and agree with each other to:

a. use and cause to be used a private and commercial interstate carrier in
furtherance of and for the purpose of executing the scheme and artifice to defraud set forth in
paragraph 51 of Counts 2 through 7; in violation of Title 18, United States Code, Section 1341;
and

b. transmit and cause to be transmitted by means of wire communications in
interstate commerce, writings, signs, signals, pictures and sounds in ftu'theranee of and for the
purpose of executing the scheme and artifice to defraud set forth in paragraph 51 of Counts 2
through 7; in violation of Title 18, United States Code, Section 1343.

C. MANNER AND MEANS TO ACCOMPLISH THE CONSPIRACY:

15. The manner and means by which MAYFIELD, MARKHAM and their co-
conspirators sought to accomplish the object and purpose of the conspiracy included, among
other things, the following:

16, MAYFIELD and MARKHAM transferred and caused to be transferred large
sums of money from the NOPLF investment account to NOJ 0 to support NOJO’s operating

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17. MAYFIELD and MARKHAM transferred and caused to be transferred large
sums of money from the NOPLF account to unlawfully enrich themselves

18. MAYFIELD and MARKHAM sent and caused to be sent materially false and
misleading correspondence to NOPLF board members, investment account managers, and
auditors regarding the purpose of the money transfers from the NOPLF investment account.

19. MAYFIELD and MARKHAM made and caused to be made materially false and
misleading representations to NOPLF board members, investment account managers, and
auditors regarding the purpose of the money transfers from the NOPLF investment account.

20. MAYFIELD and MARKHAM prepared and caused to be prepared materially
false and misleading records to make money transfers from NOPLF to NOJO appear legitimate
when they were not.

D. OVERT ACTS:

21. In furtherance of and to conceal the conspiracy and accomplish its purposes, the
defendants, MAYFIELD and MARKHAM, and others known and unknown to the Grand Jury,
committed at least one of the following overt acts, among others, in the Eastern District of
Louisiana and elsewhere:

22. On about August 23, 2011, MAYFIELD and MARKHAM transferred and
caused to be transferred 8100,000 from NOPLF to NOJO for the purpose of paying NOJ 0
operating expenses, $10,000 to MayHeld Production, two payments of $8,333.33 to
MAYFIELD for salary, and two payments of $6,032.54 to MARKHAM for salary.

23. On about Oetober 7, 201 1, MAYFIELD and MARKHAM transferred and
caused to be transferred $25,000 from NOPLF to NOJ 0 for the purpose of paying $25,000 into a

personal checking account of MAYFIELD.

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24. On about October 21, 201 i, MAYFIELD and MARKHAM emailed and caused
to be emailed materially false and misleading financial information to a NOJO board member.

25. On about October 26, 2011, MAYFIELD and MARKI:IAM transferred and
caused to be transferred 3150,000 from NOPLF to NOJ 0 for the purpose of paying NOJO
n operating expenses, $23,000 to a sculptor, two payments of $8,333.33 to MAYFIELD for
salary, and two payments of $6,032.54 to MARKI-IAM for salary.

26. On about December 29, 201 l, MAYFIELD and MARKHAM transferred and
caused to be transferred $100,000 from NOPLF to NOJ 0 for the purpose of paying NOJ 0
operating expenses, 85,000 to Mayfreld Production, $8,333.33 to MAYFIELD for salary, and
$6,032.54 to MARKHAM for salary.

27. On about January 19, 2012, MAYFIELD transferred and caused to be transferred
$50,000 from NOPLF to a YRI account for MAYFIELD.

28. On about February 27, 2012, MAYFIELD and MARKHAM transferred and
caused to be transferred $100,000 ii‘om NOPLF to NOJO for the purpose of paying NOJO
operating expenses, $7,000 to Mayfield Production, $8,333.33 to MAYFIELD for salary, and
$6,053.74 to MARKHAM for salary,

29. On about April 29, 2012, MAYFlELD and MARKHAM transferred and caused
to be transferred $50,000 from NOPLF to NOJ 0 for the purpose of paying NOJ 0 operating
expenses, $8,333.33 to MAYFIELD for salary, and $6,053.29 to MARKHAM for salary,

30. On about May 31, 2012, MAYFIELD and MARKHAM transferred and caused
to be transferred $50,000 from NOPLF to NOJO for the purpose of paying NOJ 0 operating

expenses, $8,333.33 to MAYFIELD for salary, and $6,053.28 to MARKHAM for salary.

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31. On about June 19, 2012, MAYFIELD and MARKHAM created and caused to
be created materially false and misleading NOJ 0 correspondence, dated August 29, 2011.

32. On about June 19, 2012, MAYFIELD and MARKHAM created and caused to
be created materially false and misleading NOJO correspondence, dated October ll, 201 1.

33. On about June 19, 2012, MAYFIELD and MARKHAM created and caused to
be created a materially false and misleading NOJ 0 invoice, dated February 27, 2012.

34. On about June 19, 2012, MAYFIELD and MARKHAM created and caused to
be created a materially false and misleading NOJ 0 invoice, dated May 31 , 2012.

35. ln about July 2012, MAYFIELD and MARKHAM paid and caused to be paid
$13,438.49 from NOPLF to Ritz Carlton New Yorlc to pay for MAYFIELD’s stay.

36. On about August 27, 2012, MAYFIELD and MARKHAM transferred and
caused to be transferred $50,000 from NOPLF to NOJ 0 for the purpose of paying NOJO
operating expenses

37. On about September 11, 2012, MAYFIELD and MARKHAM made and caused
to be made materially false and misleading representations to auditors, including that $3'?5,000
in NOPLF funds was transferred to NOJ 0 in 2011 as fiscal agent to implement the provisions of
Mcrnorandums of Understanding with YRI, University of New Orleans, and the Southern Food
and Beverage Museum.

38. On about September 18, 2012, MAYFIELD and MARKHAM transferred and
caused to be transferred $i 6,000 from NOPLF to NOJ 0 for the purpose of paying NOJ 0
operating expenses, including $9,728.44 to Park Central Hotel in New York for MAYFIELD’s

stay.

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39. On about September 24, 2012, MAYFIELD and MARKI:`[AM transferred and
caused to be transferred $50,000 from NOPLF to NOJO for the purpose of paying NOJO
operating expenses

40. On about September 27, 2012, MAYFIELD and MARKI-IAM transferred and
caused to be transferred $150,000 from NOPLF to NOJ 0 for the purpose of paying NOJ 0
operating expenses, $5,000 to Mayiield Production, $13,4'70.13 to Park Central Hotcl in New
York, $38,924 to Carnegie Hall, $18,860.'.`¢’1 to The Rjtz Carlton in New York, $8,333.33 to
MAYFIELD for salary, and $6,053.29 to MARKHAM for salary.

41. Between about November 1, 2012, and November 5, 2012, MAYFIELD and
MARKHAM transferred and caused to be transferred $100,000 from NOPLF to NOJO, and
$45,000 of NOPLF funds being held by YR] for MAYFIELD to NOJO for the purpose of
paying NOJO operating expenses, $25,000 to MAYFIELD for his Carnegie Hall fee, an
additional $20,000 to MAYFIELD, $8,333.33 to MAYFIELD for salary, and $6,053.29 to
MARKHAM for salary,

42. On about November 21, 2012, MAYFIELD transferred and caused to be
transferred $100,000 from NOPLF to a YRI account for MAYFIELD.

43. On about November 30, 2012, MAYFIELD transferred and caused to be
transferred approximately $15,000 from a YR_I account for MAYFIELD to purchase a 24k gold-
plated trumpet from a trumpet manufacturer.

44. On about December 4, 2012, MAYFIELD caused to be mailed a 24k gold-plated
trumpet to MAYFIELD.

45. On about December 5, 2012, MAYFIELD transferred and caused to be

transferred $77,000 in NOPLF ttmds being held by YR_I to NOJ 0 for the purpose of paying

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$66,000 to MAYFIELD, of which over $23,000 was spent at Saks Fifth Avenue and over
$2,000 was spent at Harrah’s Casino.

46. On about January 30, 2013, MAYFIELD and MARK]`:IAM transferred and
caused to be transferred $85,000 from NOPLF to NOJO for the purpose of paying NOJO
operating expenses, $8,333.33 to MAYFIELD for salary, and $5,904.35 to MARKHAM for
salary,

47. On about June 26, 2013, MAYFIELD and MARKHAM transferred and caused
to be transferred $62,000 from NOPLF to NOJ 0 for the purpose of paying NOJ 0 operating
expenses, $5,000 for NOJO’s Gala expenses, $8,333.33 to MAYFIELD for salary, and
$5,904.35 to MARKHAM for salary.

48. ln July 2013, MAYFIELD and MARKE[AM paid and caused to be paid
$12,793.48 from NOPLF to Ritz Carlton New York for MAYFIELD’s stay.

49. On about November 6, 2013 and Noveniber 18, 2013, MAYFIELD and
MARKHAM transferred and caused to be transferred $15,000 and $50,000, respectively, from
NOPLF to NOJ 0 for the purpose of paying NOJO operating expenses, $20,000 to a booking
agency for a performance in Chicago, Illinois and $5,904.36 to MARKHAM for salary.

All in violation of Title 18, United States Code, Section 3';'1.

COUNTS 2 - 7
(Wire Fraud)

A. AT ALL TIMES MATERIAL HEREIN:
50. The allegations contained in paragraphs l through 13 of Count 1 are realleged and

incorporated by reference as if fully set forth herein.

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B. THE SCI~IEME:

51. Beginning in or about August 201 1 and continuing until in or about November
2013, in the Eastern District of Louisiana and elsewhere, the defendants, IRVIN MAYFIELD
and RONALD MARKHAM, and others known and unknown to the Grand Jury, did knowingly
devise and intend to devise a scheme and artifice to defraud and to obtain money and property by
means of materially false and fraudulent pretenses, representations, and promises, by transferring
money from the NOPLF investment account to luriawfully enrich themselves and pay the
operating expenses of NOJ 0 without approval and while misleading the NOPLF and others with
regard to the purpose of the transfers
C. MANNER AND MEANS:

52. The allegations contained in paragraphs 15 through 20 of Count l are realleged
and incorporated by reference as if fully set forth herein.

D. THE EXECUTIONS:

53. On or about the dates speciiied in each count below, in the Eastern District of
Louisiana and elsewhere, the defendants, MAYFIELD and MARKHAM, and others known and
unknown to the Grand Jury, for the purpose of executing and attempting to execute the scheme
and artifice to defraud set forth in paragraph 51 of these counts, did transmit and cause to be
transmitted, by means of wire communications in interstate and foreign commerce, certain

writings, signs, si gnals, pictures and sounds, as more particularly described below:

 

 

 

 

Count Date Description of Wire Communication

2 ilf01112 A wire transfer of $100,000 between Texas, New Jersey, and Louisiana.
3 11!21¢"12 A wire transfer of $100,000 between Texas, New Jersey, and Louisiana.
4 l 13‘28!12 An email between Louisiana and Portland, Oregon regarding the

purchase of a 241< goid-plated trumpet.

5 01!30/13 A wire transfer of $85,000 between Texas, New Jersey, and Louisiana.
6 06!26¢"2013 A wire transfer of $62,000 between Texas, New Jersey, and Louisiana.
7 1 1!18:‘2013 A wire transfer of $50,000 between Texas, New Jersey, and Louisiana.

 

 

 

 

 

 

 

 

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All in violation of Title 18, United States Code, Sections 1343 and 2.

COUNT 8
(Mail Fraud)

A. AT ALL TIMES MATERIAL HEREIN:

54. The allegations contained in paragraphs 1 through 13 of Count 1 are realleged and
incorporated by reference as if fully set forth herein.
B. MANNER AND ME_}ANS:

5 5. The allegations contained in paragraphs 15 through 20 of Count 1 are realleged
and incorporated by reference as if fully set forth herein.
C. THE SCI:lEME AND EXECUTION:

56. On or about December 4, 2012, in the Eastem District of Louisiana and
elsewhere, the defendant, MAYFIELD, and others known and unknown to the Grand Jury, for
the purpose of executing and attempting to execute, and in furtherance of, the scheme and
artifice to defraud set forth in paragraph 51 of Counts 2 through 7 above, did knowingly send and
cause to be sent, delivered, and moved by private and commercial interstate carriers a 24k gold-
plated trurnpet.

Al] in violation of Title 18, United States Code, Sections 1341 and 2.

COUNT 9
(Money Laundering Conspiracy)

A. AT ALL TIMES MATERIAL HEREIN:
57. The allegations contained in paragraphs l through 13 of Count l are realleged and

incorporated by reference as though fully set forth herein.

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B. THE CONSPIRACY:

58. Be ginning at a date tuil<nown to the Grand Jury, but at least in about August 201 l,
and continuing until in about November 2013, in the Eastem District of Louisiana and elsewhere,
the defendants, MAYFIELD and MARKHAM, together with others, both known and unknown
to the Grand Jury, did knowingly combine, conspire, confederate, and agree to commit offenses
against the United States in violation of Title 18, United States Code, Section 1957, to wit: to
knowingly engage and attempt to engage in monetary transactions by, through, or to a financial
institution, affecting interstate and foreign commerce, in criminally derived property of a value
greater than $10,000, such property having been derived from a specified unlawful activity, to
wit: mail fraud, in violation of Title 18, United States Code, Section 1341 and wire fraud, in
violation of Title 18, United States Code, Section 1343, in violation of Title 18, United States
Code, Section 1957.

All in violation of Title 18, United States Code, Section l956(h).

COUNTS 10 - 22
(Money Laundering)

A. AT ALL TIMES MATERIAL HEREIN:

59. The allegations contained in paragraphs 1 through 13 of Count l are realleged and
incorporated by reference as though fiJlly set forth herein.
B. THE OFFENSE OF MONEY LAUNDERING:

60. On or about the dates set forth below, in the Eastern District of Louisiana and
elsewhere, the defendants, MAYFIELD and MARKHAM, did knowingly engage and attempt
to engage in the following monetary transactions by, through, or to a financial institution,
affecting interstate and foreign commeree, in criminally derived property of a value greater than

$10,000, that is the transactions listed below, such property having been derived from a specified

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unlawful activity, that is, mail fi'aud, in violation of Title 18, United States Code, Section 1341

and wire fraud, in violation of Title 18, United States Code, Section 1343:

 

Count

Date

Monetary Transaction

 

10

11101)'12

An electronic bank transfer in the amount of $45,000 from NOJ 0 Capital
One General Operating Acct. No. ***54'72 to NOJ 0 Capital One Payroll
Acct. No. ***2489.

 

11

11/05112

The deposit of Whitney cashier’s check No. 11001365, made payable to
NOJO in the amount of $45,000 and purchased from YRI Whitney Acct.
No. ***8576, into NOJO Capital One General Operating Acct. No.
***5472.

 

12

11105!12

The deposit of check No. 1050, made payable to MAYFIELD in the
amount of $25,000 and drawn on NOJO Capital One General Operating
Acct. No. ***54?2, into MAYFIELD’s JPMorgan Chase Acct. No.
***6036.

 

13

11!09/12

The deposit of check No. 2068, made payable to Villere Balanced Fund in
the amount of $25,000 and drawn on MAYFIELD’s JPMorgan Chase
Acct. No. l““""6036, into MAYFIELD’s personal Villere investment Acct.
No. ***1003.

 

14

11114!12

The deposit of check No. 5055, made payable to MAYFIELD in the
amount of $20,000 and drawn on NOJO Capital One General Operating
Acct. No. ***5472, into MAYFIELD’s JPMorgan Chase Acct. No.
***6036.

 

15

11116/12

The deposit of check No. 2205, made payable to Villere Balanced Fund in
the amount of $20,000 and drawn on MAYFIELD’s JPMorgan Chase
Acct. No. ***6036, into MAYFIELD’s personal Villere investment Acct.
No. ***1003.

 

16

12!04112

The deposit of Whitney cashier’s check No. 1 1001532, made payable to
Monette Corporation in the amount of$15,000 and purchased from YRI
Whitney Acct. No. ***8576, into David G. Monette Corp. US Bank Acct.
No. ***4333.

 

17

12!05112

The deposit of Whitney cashier’s check No. 1 1001552, made payable to
NOJ 0 in the amount of $77,000 and purchased from YRI Whitney Acct.
No. ***8576, into NOJ 0 Capital One General Operating Acct. No.
***5472.

 

18

12118!12

The deposit of check No. 5039, made payable to MAYFIELD in the
amount of $66,000 and drawn on NOJO Capital One General Operating
Acct. No. ***54?2, into MAYFIELD’$ JPMorgan Chase Acct. No.
***6036.

 

19

12!211'12

The deposit of check No. 1 186, made payable to NOJ 0 in the amount of
$30,000 and drawn on MAYFIELD’s JPMorgan Chase Acct. No.
***6036, into NOJ 0 Capital One General Operating Acct. No. ***5472.

 

20

 

 

011'31:‘13

 

An online banking transfer in the amount of $3'?,000 from NOJ 0 Capital
One General Operating Acct. No. ***54'?2 to NOJO Capital One Payroll
Acct. No. ***2489.

 

13

 

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Count Date Monetary Transaction

 

21 06)'27.+'13 An online banking transfer in the amount of $40,000 li'om NOJ 0 Capital
One General Operating Acct. No. ***54?2 to NOJ 0 Capital One Payroll
Acct. No. ***2489.

 

22 11!18)'13 A wire transfer in the amount of $20,000 from NOJ 0 Capital One General
Operating Acct. No. ***5472 to a bank account controlled by a booking
company in Tampa, Florida for a performance in Chicago, Illinois.

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 1957 and 2.

COUNT 23
(Obstruction of Justice)

61. On or about November 24, 2013, in the Eastern District of Louisiana, the
defendants, IRVIN MAYFIELD and RONALD MARKHAM, and others known to the Grand
J'ury, did knowingly alter, conceal, cover up, falsify, and make false entries in records,
docwnents, and tangible objects, to wit: board of directors’ meeting minutes of the NOPLF, with
the intent to impede, obstruct, and influence the investigation by the Federa] Bureau of
Investigation into the matters described in Count l of this Superseding lndictment.

All in violation of Title 18, United States Code, Sections 1519 and 2.

NOTICE OF FRAUD FORFEITURE

62. The allegations of Counts 1 through 8 of this Superseding Indictment are
realleged and incorporated by reference as though set forth fully herein for the purpose of
alleging forfeiture to the United States of America pursuant to the provisions of Title 18, United
States Code, Sections 371, 1341, 1343 and 981(a)(l)(C), made applicable through Title 28,
United States Code, Section 2461(0).

63. As a result of the offenses alleged in Counts l through 8, defendants, IRVIN
MAYFIELD and RONALD MARKHAM, shall forfeit to the United States pursuant to Title
18, United States Code, Section 981(a)(1)(C), made applicable through Title 28, United States

Code, Section 2461(0), any and all property, real or personal, which constitutes or is derived

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from proceeds traceable to violations of Title 18, United States Code, Sections 371, 1341 and
1343. The government specifically provides notice of its intent to seek a personal money
judgment against the defendants in the amount of the fraudulently-obtained proceeds
64. If any of the property subject to forfeiture, as a result of any act or omission of the

defendants:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be subdivided
without difficulty;

it is the intent of the United States, pursuant to Title 21 , United States Code, Section 853(p), to
Seek forfeiture of any other property of said defendants up to the value of the above forfeitable
property.

All in violation ofTitle 18, United States Code, Sections 3?1, 1341, 1343 and
981(a)(l)(C), made applicable through Title 28, United States Code, Section 2461(c).

NOTICE OF MONEY LAUNDERING FORFEITURE

65. The allegations of Counts 9 through 22 of this Superseding Indictmcnt are
realleged and incorporated by reference as though set forth fully herein for the purpose of
alleging forfeiture to the United States of America pursuant to the provisions of Title 18, United
States Code, Section 982.

66. As a result of the offenses, alleged in Counts 9 through 22, defendants, IRVIN
MAYFIELI) and RONALD MARKHAM, shall forfeit to the United States all property real or

personal, involved in the aforesaid offenses and all property traceable to such property which

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was involved in the said violations of Title 18, United States Code, Sections 1956(h), 1957 and
982. The government specifically provides notice of its intent to seek a personal money
judgment against the defendants in the amount of the fraudulently-obtained proceeds.
67. If any of the property described above as being subject to forfeiture, as a result of
any act or omission of the defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be subdivided
without dif’liculty;

it is the intent of the United States, pursuant to Title 18, United States Code, Section 982(b)(1) to
seek forfeiture of any other property of said defendants up to the value of the above forfeitable
property.

All in violation of Title 18, United States Code, Section 982.

NOTICE OF OBSTRUCTION OF JUSTICE FORFEITURE

68. The allegations of Count 23 of this Superseding Indictment are realleged and
incorporated by reference as though set forth fully herein for the purpose of alleging forfeiture to
the United States of America pursuant to the provisions of'l`itle 18, United States Code, Sections
1519 and 981(a)(1)(C), made applicable through Title 28, United States Code, Section 2461(0).

69. As a result of the offenses alleged in Count 23, defendants, IRVIN MAYFIELD
and RONALD MARKHAM, shall forfeit to the United States pursuant to Title 18, United

States Code, Section 981(a)(l)(C), made applicable through Title 28, United States Code,

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Section 2461(0), any and all property, real or personal, Which constitutes or is derived from
proceeds traceable to violations of Title 18, United States Code, Section 1519. The government
specifically provides notice of its intent to seek a personal money judgment against the
defendants in the amount of the fraudulently-obtained proceeds.
70. If any of the property subject to forfeiture, as a result of any actor omission of the

defendants:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third perscn;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be subdivided
without ditflculty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(1)), to

seek forfeiture of any other property of said defendants up to the value of the above forfeitable

property.

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All in violation of Title 18, United States Code, Section 1519 and 981(a)(l)(C), made

applicable through Title 28, United States Code, Section 2461(c).

A TRUE BILL:

 

OREPERSON

DUANE A. EVANS
UNITED STATES ATI`O EY

% <@%/

¢.DALL KAMMEI{
Assistant United States Attorney
Louisiana Bar Roll No. 26948

 

 

Assistant United States Attorney

New Orleans, Louisiana
June 21, 2018

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